          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                     CRIMINAL CASE NO. 3:06cr415


UNITED STATES OF AMERICA, )
                          )
             Plaintiff,   )
                          )
             vs.          )                    ORDER
                          )
TAMARA VARNADO,           )
                          )
             Defendant.   )
                          )



     THIS MATTER came before the Court on the Government’s Motion

Requesting Finding That Recusal Is Not Required [Doc. 61] and

Defendant’s Motion to Rescind Order and Reconsider Based on Recusal

[Doc. 70].

I.   MOTION REQUESTING FINDING THAT RECUSAL IS NOT
     REQUIRED

     On October 15, 2007, the Government filed a Notice and Motion

Requesting Finding That Recusal Is Not Required [Doc. 61], advising the

Court of a potential issue of recusal under 28 U.S.C. § 455(b). Specifically,

the Government advised that the investigation of this underlying criminal




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matter began while Judge Conrad was the United States Attorney for the

Western District of North Carolina. The Government advised that the

United States Attorney Office’s involvement in the case began in February,

2004, four months before Judge Conrad resigned his position as United

States Attorney. The Government represented that based on a review of

its files, there is no evidence that Judge Conrad took any personal action

on this matter or was ever made personally aware of the opening of the

criminal investigation of this matter.

      Based upon the Government’s Notice, Judge Conrad reassigned this

matter to the undersigned on October 22, 2007. Defendant Varnado

thereafter filed the present motion for reconsideration.

      Title 28 U.S.C. § 455 provides, in pertinent part, as follows:

      [Any judge] shall also disqualify himself . . .[w]here he has
      served in governmental employment and in such capacity
      participated as counsel, adviser or material witness concerning
      the proceeding or expressed an opinion concerning the merits
      of the particular case in controversy.

28 U.S.C. § 455(b)(3) (emphasis added). In the present case, there is no

allegation made, much less any evidence to indicate, that Judge Conrad

“participated as counsel, adviser or material witness concerning” this

matter or that he “expressed an opinion concerning the merits” of the case.


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See United States v. Gipson, 835 F.2d 1323, 1326 (10th Cir.), cert. denied,

486 U.S. 1044 (1988) (finding district judge had not “participated as

counsel” in prior prosecution of defendant where judge merely held office

of United States Attorney at the time when and in the district court where

prosecution occurred). As such, it appears to the undersigned that Judge

Conrad was not required to recuse himself pursuant to 28 U.S.C. §

455(b)(3), but rather did so out of an overabundance of caution and in an

effort to avoid even a hint of the appearance of impropriety. Accordingly,

      IT IS, THEREFORE, ORDERED that the Government’s Motion

Requesting Finding That Recusal Is Not Required [Doc. 61] is GRANTED.

II.   MOTION TO RESCIND ORDER

      Defendant Tamara Varnado moves the Court to rescind the previous

Court’s Order [Doc. 56] denying the Defendant’s Motions to Dismiss the

Superseding Indictment for Lack of Venue and to reconsider the issues

raised therein. For grounds, Defendant Varnado argues that this Order

should be rescinded because it was entered by District Judge Robert J.

Conrad, Jr. prior to his recusal in this matter.

      Because Judge Conrad’s recusal was not mandatory, the Court

similarly finds that rescinding the Order entered by Judge Conrad prior to


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his recusal is also not mandatory. Nevertheless, out of a similar

overabundance of caution, the Court will grant the Defendant’s motion and

rescind Judge Conrad’s Order of October 9, 2007 so that the Defendant’s

Motions to Dismiss may be reconsidered. Accordingly,

       IT IS, THEREFORE, ORDERED that Defendant Varnado’s Motion to

Rescind Order and Reconsider Based on Recusal [Doc. 70] is GRANTED,

and Judge Conrad’s Order of October 9, 2007 [Doc. 56] is hereby

RESCINDED and the Motions to Dismiss are hereby RECONSIDERED.

III.   MOTIONS TO DISMISS FOR LACK OF VENUE

       Defendant Varnado moves to dismiss Counts One through Eleven,

Twelve, Thirteen, Fifteen, Sixteen, and Eighteen of the Superseding

Indictment on the grounds that the Western District of North Carolina is not

the proper venue for these Counts. [Docs. 33, 37].

       Proper venue in a criminal prosecution is a constitutional

requirement. Article III of the Constitution provides that “The Trial of all

Crimes . . . shall be held in the State where the said Crimes shall have

been committed.” U.S. Const. art. III, § 2, cl. 3. Further, the Sixth

Amendment provides that a criminal defendant has a right to a trial “by an

impartial jury of the State and district wherein the crime shall have been


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committed.” U.S. Const. amend. VI; see also Fed. R. Crim. P. 18 (“Unless

a statute or these rules permit otherwise, the government must prosecute

an offense in a district where the offense was committed.”). When

Congress does not indicate by statute where venue for the offense may lie,

venue “must be determined from the nature of the crime alleged and the

location of the act or acts constituting it.” United States v. Bowens, 224

F.3d 302, 308 (4th Cir. 2000), cert. denied, 532 U.S. 944 (2001) (quoting

United States v. Anderson, 328 U.S. 699, 703 (1946)).

     The Government has the burden of proving venue by a

preponderance of the evidence. Id. When a defendant is charged with

multiple counts, venue must be proved as to each count. United States v.

Smith, 452 F.3d 323, 335 (4th Cir.), cert. denied, 127 S. Ct. 694 (2006).

     In a pretrial motion to dismiss, the allegations set forth in the

indictment must be taken as true. See United States v. Thomas, 367 F.3d

194, 197 (4th Cir. 2004). “When the motion to dismiss for improper venue

is a pretrial motion, only the indictment may be considered. Evidence

beyond the face of the indictment should not be considered.” United

States v. Forrest, 182 F.3d 910, 1999 WL 436743, at *1 (4th Cir. June 29,

1999) (citing United States v. Jensen, 93 F.3d 667, 669 (9th Cir. 1996)).


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Thus, a defendant may not challenge a facially valid indictment on the

grounds that the allegations contained therein are not supported by

adequate evidence. See Jensen, 93 F.3d at 669. Nor may a defendant

challenge a facially valid indictment on the grounds that it fails to indicate

which specific acts were committed in the district. See, e.g., United States

v. Chalmers, 474 F. Supp. 2d 555, 575 (S.D.N.Y. 2007).

      The Court finds that, at this stage in the proceedings, the allegations

in the Superseding Indictment, when taken as true, sufficiently establish

venue in the Western District of North Carolina for each Count of the

Superseding Indictment. The Superseding Indictment alleges that the

Defendants acted in furtherance of both a health care fraud conspiracy and

a money laundering conspiracy effectuated within “Mecklenburg County, in

the Western District of North Carolina, and elsewhere.” “[A] prosecution

may be brought in any district in which any act in furtherance of the

conspiracy was committed.” United States v. Al-Talib, 55 F.3d 923, 928

(4th Cir. 1995) (citing United States v. Anderson, 611 F.2d 504, 509 n.5

(4th Cir. 1979)). With respect to the other charges, Counts Two through

Ten allege substantive health care fraud charges for specific transactions

occurring “in Mecklenburg County, within the Western District of North


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Carolina, and elsewhere,” in violation of 18 U.S.C. §§ 1347 and 2, and the

remaining Counts allege substantive money laundering charges for

transactions occurring “in Mecklenburg County, within the Western District

of North Carolina, and the Southern District of Texas, Houston Division,” in

violation of 18 U.S.C. §§ 1956(a)(1)(A)(I) and 2. These general allegations

regarding venue are sufficient until trial, at which time the Government will

have the burden of proving by a preponderance of the evidence that venue

is proper as to each Count in the Superseding Indictment.

      For the foregoing reasons, the Court finds that the Superseding

Indictment adequately alleges venue with respect to Counts One through

Eleven, Twelve, Thirteen, Fifteen, Sixteen, and Eighteen, and that the

Defendant’s Motions to Dismiss the Superseding Indictment for Lack of

Venue should be denied. Accordingly,

      IT IS, THEREFORE, ORDERED that Defendant Varnado’s Motion to

Dismiss Counts Twelve, Thirteen, Fifteen, Sixteen, and Eighteen of the

Superseding Indictment for Lack of Venue [Doc. 33] and the Motion to

Dismiss Counts One Through Eleven of the Superseding Indictment for

Lack of Venue [Doc. 37] are both DENIED.




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IT IS SO ORDERED.



                               Signed: October 25, 2007




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